                   Case 3:17-mc-80026-LB Document 8 Filed 03/08/17 Page 1 of 3



 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                                   )
     Hurry et al.,                                                17-mc-80026-lb
                                                     )   Case No: _______________
 4                                                   )
                                     Plaintiff(s),   )   APPLICATION FOR
 5                                                   )   ADMISSION OF ATTORNEY
              v.
                                                     )   PRO HAC VICE
 6   FINRA,                                          )   (CIVIL LOCAL RULE 11-3)
                                                     )
 7                                                   )
                                     Defendant(s).
                                                     )
 8
         I, Elizabeth A. McNamara                 , an active member in good standing of the bar of
 9   New York                      , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: Non-Party Journalist William Meagher         in the
     above-entitled action. My local co-counsel in this case is __________________________________,
                                                                Thomas R. Burke                         an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                               LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      Davis Wright Tremaine, 1251 Avenue of the           Davis Wright Tremaine, 505 Montgomery Street,
14    Americas, 21st Floor, New York NY 10020             Suite 800, San Francisco, California 94111
       MY TELEPHONE # OF RECORD:                           LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (212) 489-8230                                      (415) 276-6500
       MY EMAIL ADDRESS OF RECORD:                         LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    lizmcnamara@dwt.com                                 thomasburke@dwt.com
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: 1930643      .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
          I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 03/02/17                                               Elizabeth A. McNamara
22                                                                               APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Elizabeth A. McNamara                      is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated:
                                                           UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                  October 2012
Case 3:17-mc-80026-LB Document 8 Filed 03/08/17 Page 2 of 3
                                      Case 3:17-mc-80026-LB Document 8 Filed 03/08/17 Page 3 of 3

                                                                      PROOF OF SERVICE
                             1
                                        I am employed in the City and County of San Francisco, State of California, in the office
                             2
                                 of a member of the bar of this court, at whose direction the service was made. I am over the age of
                             3   eighteen (18) years, and not a party to or interested in the within-entitled action. I am an employee
                                 of DAVIS WRIGHT TREMAINE LLP, and my business address is 505 Montgomery Street, Suite
                             4   800, San Francisco, California 94111-6533.
                             5          I caused to be served a copy of the following document:
                                                APPLICATION FOR ADMISSION OF ATTORNEY PRO HAC VICE
                             6
                                        I caused the above document to be served on each of the persons listed below by the
                             7   following means:
                             8   Joseph G. Adams, Esq.                              Charles Harder, Esq.
                                 Carlie Shae Tovrea, Esq.                           Jordan Susman, Esq.
                             9   Snell & Wilmer LLP - Phoenix, AZ                   Dilan Esper, Esq.
                                 1 Arizona Center                                   Ryan J. Stonerock, Esq.
                            10   400 E Van Buren                                    Harder Mirell & Abrams LLP
                                                                                    132 S Rodeo Drive, 4th Floor
DAVIS WRIGHT TREMAINE LLP




                                 Phoenix, AZ 85004-2202
                            11   Tel: 602-382-6393                                  Beverly Hills, CA 90212
                                 Fax: 602-382-6070                                  Tel: 424-203-1600
                            12   Email: ctovrea@swlaw.com                           Fax: 424-203-1601
                                 Counsel for Plaintiffs                             Email: charder@hmafirm.com
                            13                                                      Counsel for Plaintiffs
                            14   George Ian Brandon, Sr., Esq.                      Donald A Wall, Esq.
                                 Gregory Alan Davis, Esq.                           Squire Sanders & Dempsey LLP
                            15   Gregory Sumner Schneider, Esq.                     2 Renaissance Square
                                 Squire Patton Boggs (US) LLP - Phoenix, AZ         40 N Central Avenue, Suite 2700
                            16   1 E Washington Street, Suite 2700                  Phoenix, AZ 85004-4441
                                 Phoenix, AZ 85004                                  Tel: 602-528-4000
                            17   Tel: 602-528-4000                                  Fax: 602-253-8129
                                 Fax: 602-253-8129                                  Email: dwall@ssd.com
                            18   Email: gregory.schneider@squirepb.com              Counsel for Defendants
                                 Counsel for Defendants
                            19

                            20    ‫܇‬       I enclosed a true and correct copy of said document in an envelope and placed it for
                                          collection and mailing via Federal Express on March 8, 2017, for guaranteed delivery on
                            21            March 9, 2017, following the ordinary business practice.

                            22          I am readily familiar with my firm’s practice for collection and processing of
                                 correspondence for delivery in the manner indicated above, to wit, that correspondence will be
                            23   deposited for collection in the above-described manner this same day in the ordinary course of
                                 business.
                            24
                                        I declare under penalty of perjury under the laws of the State of California that the
                            25
                                 foregoing is true and correct.
                            26
                                        Executed on March 9, 2017, at San Francisco, California.
                            27
                                                                                          /s/ Aysha D. Lewis
                            28                                                                 Aysha D. Lewis

                                                                                  -1-
                                 PROOF OF SERVICE
                                 CASE NO. 3:17-MC-80026-LB
